Case 2:05-cr-20076-.]DB Document 58 Filed 08/18/05 Page 1 of 2 Page|D 61

 

"341 F"il.£~'.e e;;r_., §,?_4__‘:1:_0.0.
[Rev 7¢'93)
United StafeS DiSfl‘iCt COlll‘t gng aug 18 ma mg 35
Western District of Tennessee ;;Hl;§__§;l
diaz §
United States 01` America ) ill O*
)
vS )
_ )
Debra Franl<lln ) Case N0.05-20076-02 B

CONSENT TO MODIFY CONDITIONS OF RELEASE

l, Debra Franklin, have discussed With Angela K. Yates, Pretrial Services Officer,
modification of my release conditions as follows:

l) Participate in a program of inpatient or outpatient substance abuse therapy and counseling if
deemed advisable by the Pretrial Services Office

l consent to this modification of my release conditions and agree to abide by this modification

f;/_;;/a» MA aa aaa

 

 

Signature of Defendant Date Pretria| Services!Probation Of leer Date
! have ev` Wed the co tions with my client and concur that this modification is appropriate
. l _ ¢.._
\. _l ` § Gl’i ` l l 0 3
l \
Signature of` Def`ense Counscl ate

?£The above modification of conditions of release is ordered, to be effective on §§ /b§ § b

» [ ] The above modification of` conditions of` release is not ordered.

/fl,/m l/ Z/Z/JW MM /a"/O?m§l

Signature of`Judicial Officer Date

This document entered on the docket sheet in compliance
with Rule 55 andfor 32(b) FHC:P on fs "§ §§

 

Notice of Distribution

This notice confirms a copy of`the document docketed as number 58 in
case 2:05-CR-20076 Was distributed by f`aX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

l\/lemphis7 TN 38103--1 ll

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38l28

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38l28

Honorable J. Breen
US DISTRICT COURT

